          Nos. 24-3137 (L), 24-3388, 24-3415, 24-3442, 24-3469


           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE EIGHTH CIRCUIT


CUSTOM COMMUNICATIONS, INC., D/B/A CUSTOM ALARM, et al.,
                                         Petitioners,
                                    v.
                   FEDERAL TRADE COMMISSION,
                                         Respondent.




                    On Petition for Review of a Rule
                    of the Federal Trade Commission
                 (Negative Option Rule, RIN 3084-AB60)



     MOTION TO INTERVENE BY MAIN STREET ALLIANCE




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                                 INTRODUCTION

      The case concerns the validity of an FTC rule that protects both consumers

and businesses from unfair and deceptive practices in negative-option agreements.

Such agreements are widespread and include common arrangements like free trial

periods, automatically renewing subscriptions, and regular deliveries of goods or

services that continue until cancelled. The rule requires sellers offering negative

options to accurately disclose the terms of the deal, confirm that the buyer has

accepted the deal, and make it as easy for the buyer to cancel as it was to enroll.

      Movant Main Street Alliance (MSA) is a membership association

representing approximately 30,000 small businesses across the country. It seeks to

organize, empower, and advocate for small business owners in order to create a

thriving and inclusive economy.

      MSA’s small business members have a significant interest in the outcome of

this litigation that they can no longer count on the existing parties to represent.

MSA’s members routinely purchase goods and services for their small businesses

and for themselves as individual consumers using negative-option agreements.

These members therefore doubly benefit from the rule’s protections and would be

harmed if the rule were invalidated. Members would suffer other injuries, too, if

the rule were struck down, including competitive disadvantage—namely, lost sales




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due to huge competitors using unfair and deceptive negative-option contracts to rig

consumer choices in their favor.

      Until recently, the FTC could be relied upon to represent those interests here.

No longer. The transition to a new administration just two weeks ago, and events

since then, have raised serious doubts that the FTC will continue to vigorously

defend and seek to implement its rule and so have necessitated this intervention.

The FTC’s new chair—designated on January 20—voted against the rule and has

announced that he will pursue a radical break from his predecessor, who recently

left the Commission. Consistent with his announced ambitions, the new chair has

already sought and received a delegation of power to reverse other decisions

previously approved by the full Commission. Particularly given the expedited

briefing schedule in this case, Main Street Alliance cannot afford to sit back and

wait to see if the FTC stays the course.

      The Court should grant leave for MSA to intervene in defense of the rule.

Intervention is necessary for MSA to protect the interests of its members, which

are no longer being adequately represented. This request is also timely: It comes

just two weeks after the events giving rise to the need to intervene, and before

merits briefing has even begun. Finally, intervention will not prejudice any party or

delay resolution of this case. To the contrary, it will assist the Court by ensuring




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adversarial presentation of the legal issues and by providing the important

perspective of small business owners who are not currently represented here.1

                                  BACKGROUND

        1. The rule and this litigation. The FTC finalized the challenged

regulation—commonly known as the “Click-to-Cancel” Rule—in October 2024,

and it appeared in the Federal Register on November 15. 89 Fed. Reg. 90467.

The Commission approved the rule by a 3-2 vote, with Commissioners Andrew

Ferguson and Melissa Holyoak voting against.

        The rule amends and updates the FTC’s longstanding Negative Option Rule.

See 16 C.F.R. pt. 425. The Commission determined that it was necessary to update

that rule—first promulgated more than 50 years ago—to replace “[t]he existing

patchwork of laws and regulations … with a consistent legal framework across

media and offers,” 89 Fed. Reg. 90479, and to address “persistent” harms from

unfair and deceptive practices in connection with negative options, id. at 90477.

        Those harms were extensively documented in the rulemaking record and, to

many, will sound familiar. For example, the FTC found copious evidence of sellers

using unfair and deceptive tactics to trap buyers into deals they no longer wanted

(or never wanted in the first place), such as by making it difficult or impossible for

buyers to cancel, failing to honor refunds even for buyers who enrolled


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    Petitioners and Respondent oppose the motion.
                                          3

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unknowingly, and subjecting buyers to multiple upsells before allowing

cancellation. 89 Fed. Reg. at 90481. The record also established that, too often,

sellers lure buyers into unwanted negative options through misleading marketing

or by failing to confirm that the buyer has in fact accepted the offer.

        Under the new rule, sellers offering negative-option contracts are barred

from making material misrepresentations, must disclose the key terms of the deal,

must secure the buyer’s unambiguous consent, and must offer buyers a simple

means of declining to extend the arrangement. 16 C.F.R. §§ 425.3-.6. MSA filed a

comment letter alongside several other groups supporting the FTC’s proposal.2

        Importantly, the rule extends to business-to-business transactions, meaning

that it protects both individual consumers and business consumers that purchase

goods or services through negative-option arrangements. See 89 Fed. Reg. at

90488-90. The Commission found that several of its recent enforcement actions,

among other evidence, “underscore the fact [that] deceptive practices pertaining to

negative option features occur in B2B [business-to-business] transactions just as

they do with individual consumers.” Id. at 90489.

        Several trade associations and one single company filed petitions for review,

and those petitions were consolidated in this Court. In papers filed before the

change in administration, the FTC opposed Petitioners’ motion to stay the rule


2
    https://www.regulations.gov/comment/FTC-2023-0033-0870
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pending review. The Court denied Petitioners’ request for a stay. It ordered

expedited briefing and warned that no extensions would be granted.

       2. The Commission. On January 20, President Trump designated

Commissioner Ferguson as chair of the FTC. Commissioner Ferguson soon took

steps to signal a stark change in direction for the agency, announcing that “we will

end the previous administration’s assault on the American way of life, and we will

usher in a new Golden Age.” Press Release, FTC, Andrew N. Ferguson Takes Over

as FTC Chairman (Jan. 22, 2025).3

       Consistent with that rhetoric, Commissioner Ferguson unilaterally ordered

the shuttering of offices within the FTC and started an effort to root out initiatives

undertaken by the previous administration. Press Release, FTC, FTC Chairman

Ferguson Announces that DEI is Over at the FTC (Jan. 22, 2025).4 And he moved

quickly to secure a broad delegation of “the authority he needs to be able to

comply fully with President Trump’s orders,” id.—a delegation that one of his

fellow commissioners described as “ambiguous and undefined” and “a radical




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  https://www.ftc.gov/news-events/news/press-releases/2025/01/andrew-n-
ferguson-takes-over-ftc-chairman
4
  https://www.ftc.gov/news-events/news/press-releases/2025/01/ftc-chairman-
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departure from agency practice,” FTC, Statement of Commissioner Rebecca Kelly

Slaughter Regarding the Motion to Delegate (Jan. 23, 2025).5

       In the midst of these changes, the previous chair, Commissioner Lina Khan,

who supported the rule and cast the deciding vote to issue it, announced that she

would (and in fact did) depart the Commission on January 31. Lina Khan

(@linakhanFTC), X (Jan. 21, 2025, 1:00 PM).6

                               LEGAL STANDARD

       “No statute or rule provides a general standard to apply in deciding whether

intervention on appeal should be allowed.” Cameron v. EMW Women’s Surgical

Ctr., P.S.C., 595 U.S. 267, 276 (2022). In the absence of such a rule, the Supreme

Court—in line with several circuit courts of appeals—has “considered the policies

underlying intervention in the district courts.” Id. at 277 (quotation marks omitted).

In doing so, the Court has focused on: (1) “the legal ‘interest’ that a party seeks to

‘protect’ through intervention on appeal,” id. (quoting Fed. R. Civ. P. 24(a)(2));

(2) the “[t]imeliness” of the request to intervene, id. at 280-81, and (3) and whether

intervention “would prejudice” the other parties, id. at 281-82.




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  https://www.ftc.gov/system/files/ftc_gov/pdf/2025-1-
23_rks_statement_motion_delegation.pdf
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                                   ARGUMENT

THE COURT SHOULD GRANT MAIN STREET ALLIANCE LEAVE TO INTERVENE

      Main Street Alliance’s thousands of small business members have a

compelling interest in the outcome of this case, which will have a very real impact

on their bottom lines and their ability to compete with companies that use negative

options to trick and trap both individual consumers and small businesses into deals

they neither want nor need. Absent intervention, MSA will be unable to protect that

important interest, including because recent events demonstrate that the existing

parties can no longer be counted on to adequately represent that interest. MSA has

moved promptly to intervene, and granting its request will neither prejudice the

parties nor delay resolution of this case. Intervention is warranted.

 A. Intervention is necessary for Main Street Alliance to protect the
    important interests of its members at stake in this case.

      1.   The small business members that Main Street Alliance represents
           have a strong interest in the outcome of this litigation.

      This Court has recognized that “[t]he threat of economic injury from the

outcome of litigation undoubtedly gives a petitioner the requisite interest” to

intervene. Nat’l Parks Conservation Ass’n v. EPA, 759 F.3d 969, 976 (8th Cir.

2014) (quoting Utahns for Better Transp. v. Dep’t of Transp., 295 F.3d 1111, 1115

(10th Cir. 2002)). Main Street Alliance’s small business membership has a clear




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and concrete economic stake in the outcome of this case. See generally Decl. of

Shawn Phetteplace, Nat’l Campaigns Dir., Main Street Alliance (attached).

      The rule at issue protects both individual consumers and business

consumers. See 89 Fed. Reg. at 90488-90. Were the rule to be struck down in

whole or in part, it would deprive MSA’s members of important legal protections

when they purchase goods or services from other businesses through negative-

option plans. And make no mistake: Countless small business owners rely on

negative-option arrangements every day to keep their businesses running, from the

daycare center with an automatically recurring order of diapers to the web

developer who tries out new software on a trial basis to the bar owner who buys a

cable subscription to be able to put the game on.

      Members face serious risk to their bottom lines if suppliers and other

sellers—not infrequently, large entities able to impose their terms on a take-it-or-

leave-it basis—were allowed to employ the unfair and deceptive practices that the

rule prohibits. Without the rule, MSA’s members could also be deprived of

important information necessary to evaluate whether a deal is right for their

business. See 16 C.F.R. § 425.4 (requiring sellers to disclose key details of the

transaction). And some would find themselves—like many of us—at some point

stuck in costly deals they no longer want but are unable to cancel. See id. § 425.6

(requiring sellers to provide simple means to cancel negative-option agreements).

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        MSA’s members would suffer other harms too if the rule were thrown out.

As MSA warned in the joint comment letter it submitted on the proposed rule,

unfair and deceptive negative-option deals “implicate both anti-monopoly and

consumer protection concerns” because the very largest companies can use them to

lock in their market dominance instead of competing on quality, service, and

innovation.7 As MSA’s comment explained, “[b]usinesses should be relying on the

quality of their goods or services to retain customers, not by forcing them to

research how to cancel their subscription or by making termination as frustrating as

possible.”

        Given the significant economic and informational injuries that Main Street

Alliance’s members would face if the rule were struck down, they have at least as

compelling an interest in the outcome of this litigation as do the petitioners on the

other side that seek to invalidate the rule.

        2. Main Street Alliance will be unable to protect its interests absent
           intervention, and the parties do not adequately represent it.

        Without intervention, Main Street Alliance will not be able to protect its

members’ strong interest in the rule remaining in effect. All petitions for review of

the rule have been consolidated in this case, and this Court will determine whether




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    https://www.regulations.gov/comment/FTC-2023-0033-0870
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those legal challenges succeed or fail. Main Street Alliance will not have another

opportunity to defend its interests against those claims.

      Nor are Main Street Alliance’s interests adequately represented by any

existing party. Cf. Fed. R. Civ. P. 24(a)(2). To be sure, where an existing party is “a

government entity,” the Court ordinarily will “presume that the government entity

adequately represents the public.” FTC v. Johnson, 800 F.3d 448, 452 (8th Cir.

2015). But that presumption yields if the intervenor can show “[1] that it stands to

gain or lose from the litigation in a way different from the public at large, or

[2] that its interest is narrower and more parochial than the government’s,” or [3] if

the intervenor otherwise makes “a strong showing of inadequacy.” Entergy

Arkansas, LLC v. Thomas, 76 F.4th 1069, 1071-72 (8th Cir. 2023) (quotation marks

and citation omitted).

      The recent change in presidential administration on January 20, and the

FTC’s actions since then, are enough to easily overcome the presumption of

adequate representation here. The Commission majority that supported issuing the

rule is now gone, and those who opposed the rule are now in charge. The rule was

approved on a 3-2 party-line vote, with Commissioners Ferguson and Holyoak

dissenting. The decisive vote in favor of the rule, Commissioner Khan, announced

on January 21 that she would leave the Commission, which she did on January 31.

See supra at 6.

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       Commissioner Ferguson, meanwhile, has been appointed the new chair.

From the day he assumed that authority, he has taken aggressive steps to reverse

the policies of the prior administration, policies he has characterized generally as

an “assault on the American way of life.” See id. at 5. Most concerning of all,

Commissioner Ferguson has already sought, received, and exercised unilateral

authority to roll back past decisions that were authorized by the full Commission.

See id. at 5-6.

       In so doing, Commissioner Ferguson has emphasized that—notwithstanding

the FTC’s long history as an independent agency—he views himself as a tool of

presidential will whose job is to prosecute the new administration’s deregulatory

agenda. See, e.g., Statement of Commissioner Andrew N. Ferguson, Joined by

Commissioner Melissa Holyoak, Regarding the Motion to Delegate (Jan. 23, 2025)

(stating that the president “direct[s] the Commission’s priorities”).8 Nothing in

Commissioner Ferguson’s rhetoric or actions since he became chair supports—or is

even consistent with—a presumption that the FTC will continue to defend and seek

to implement actions taken under the previous administration, particularly those

the new chair himself already publicly disapproved.




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  https://www.ftc.gov/legal-library/browse/cases-proceedings/public-
statements/statement-of-ferguson-cmr-holyoak-motion-to-delegate-authority-to-
chairman-to-comply-with-jan-2025-executive-orders-on-DEI
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       Numerous courts have recognized that a “change in the Administration

raises the possibility of divergence of interest or a shift during litigation” that may

leave an intervenor’s interests unprotected. W. Energy All. v. Zinke, 877 F.3d 1157,

1169 (10th Cir. 2017) (quotation marks omitted); EEOC v. R.G. & G.R. Harris

Funeral Homes, Inc., No. 16-2424, 2017 WL 10350992, at *1 (6th Cir. Mar. 27,

2017) (granting motion to intervene where agency’s “recent actions imply that the

new administration will less aggressively” seek to advance the movant’s interests,

even where that risk “ha[d] yet to crystallize”); Env’t Integrity Project v. Wheeler,

No. 1:20-cv-1734, 2021 WL 6844257, at *3 (D.D.C. Jan. 27, 2021) (Jackson, J.)

(granting motion to intervene where, “given the recent change in administration, it

is not at all clear that the Federal Defendants will continue to defend the prior

administration’s rule”).

       Here, much more than just a change in administration has occurred. The

agency’s new leadership is on record specifically opposing the rule at issue in this

case, it has made clear it will vigorously seek to dismantle the work of the prior

administration, and it has already taken aggressive steps to do so. In these

circumstances, Main Street Alliance can have no certainty that the FTC will

continue to defend its rule or, if it does, that it will do so full-throatedly. The

situation here therefore more than suffices to make out a “strong showing of

inadequacy” supporting intervention. Entergy, 76 F.4th at 1072 (quotation marks

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omitted). Similarly, it demonstrates that Main Street Alliance’s interest in this

litigation—i.e., that the rule’s protections remain in effect—are likely “different” or

“narrower and more parochial” than the FTC’s. See id. at 1071-72.9

    B.   This request to intervene is timely.

         “Timeliness is an important consideration in deciding whether intervention

should be allowed.” Cameron, 595 U.S. at 279. Timeliness is judged in relation to

when the “need to seek intervention … ar[o]se.” Id. at 280.

         As explained above, Main Street Alliance’s need to intervene arose only

over the last two weeks, when events demonstrated that it could no longer rely on

the FTC to continue defending the rule. That is well within the range that this

Court has previously found sufficient for timeliness. See, e.g., Taylor v. Sw. Bell

Tel. Co., 251 F.3d 735, 741 (8th Cir. 2001) (11 days); Kansas Pub. Emps. Ret. Sys.

v. Reimer & Koger Assocs., Inc., 60 F.3d 1304, 1308 (8th Cir. 1995) (“less than a

month”); United States v. Union Elec. Co., 64 F.3d 1152, 1158-59 (8th Cir. 1995)

(four months); Mille Lacs Band of Chippewa Indians v. State of Minn., 989 F.2d

994, 999 (8th Cir. 1993) (more than 11 months).




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  MSA’s strong interest in the subject matter of this case would, under the rules
applicable to intervention in district court, give MSA the requisite interest to
intervene as of right, see Fed. R. Civ. P. 24(a)(2), as well as a “defense that shares
with the main action a common question of law or fact,” as required for permissive
intervention, see Rule 24(b)(1)(B).
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      The original parties may argue that this motion is untimely under Federal

Rule of Appellate Procedure 15(d). Rule 15(d) requires that a motion to intervene

in a proceeding for “review or enforcement of an agency order” be filed within 30

days of the petition for review. But Rule 15(d), by its logic and express terms, does

not apply to this proceeding, which seeks review of an agency rule—not an

“order.” And even if Rule 15(d) did apply, good cause exists for the Court to

enlarge the time for intervention in the circumstances here.

      First, Rule 15 does not apply in this case. By its plain and unambiguous

language, it governs petitions for “review or enforcement of an agency order.” An

order is not a rule. E.g., 5 U.S.C. § 551(4), (6) (provision of APA defining rules and

orders as mutually exclusive categories); 15 U.S.C. §§ 45(c), 57a(e) (provisions of

FTC Act separately authorizing petitions for review of “orders” and of “rules”).

Petitioners here seek review of a rule, not an order.

      Rule 15’s reference to “an agency order” is no stray scrivener’s error. The

word “order” appears repeatedly and consistently throughout Rule 15 as well as

neighboring rules, which together make up Title IV of the Rules of Appellate

Procedure, titled “Review or Enforcement of an Order of an Administrative

Agency, Board, Commission, or Officer.” Nor can the term “order” be read

atextually to mean “rule or order” since—setting aside that rules and orders are

different things—Rule 15 also governs proceedings for “enforcement of an agency

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order,” and agencies do not typically, if ever, petition for enforcement of a rule in

the courts of appeals. (Indeed, it is not clear they even could.)

      It makes good sense that time limits governing intervention would vary

between cases involving orders versus rules. By their very nature, agency orders

are narrower in effect and more party-specific than rules, and entities whose

interests are implicated by an agency order can be expected to be aware of that fact

and to promptly intervene in relevant court proceedings. And because Rule 15 also

governs petitions to enforce orders, it is reasonable that interested parties would be

required to intervene promptly so as to avoid potentially delaying government

enforcement proceedings that may implicate time-sensitive matters of public health

or safety. Cf. Fed. Mar. Comm’n v. Port of Seattle, 521 F.2d 431, 433 (9th Cir.

1975) (“It is beyond cavil that the very backbone of an administrative agency’s

effectiveness in carrying out the congressionally mandated duties of industry

regulation is the rapid exercise of the power to investigate … and the right under

the appropriate conditions to have … courts enforce its [orders].”).

      The Court need not resolve this question here, however, because even if

Rule 15(d) did govern, good cause exists in these circumstances to enlarge the time

to intervene.

      Rule 15(d) is non-jurisdictional and so may be waived or extended for cause

under Rule 26(b). Courts will “treat a procedural requirement as jurisdictional only

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if Congress clearly states that it is.” Wilkins v. United States, 598 U.S. 152, 157

(2023) (quotation marks omitted). “[Rule 15(d)] lacks a jurisdictional clear

statement, and nothing about [Rule 15(d)’s] text or context gives reason to depart

from th[e Supreme] Court’s observation that most time bars are nonjurisdictional.”

See id. (quotation marks omitted). So too, this motion to intervene in defense of the

rule is not among the limited set of filings for which Rule 26(b) specifies that

courts may not extend the deadline.

      Rule 15(d) is thus, as the Sixth Circuit has explained, “straightforward[ly]” a

nonjurisdictional “claim-processing rule that the courts of appeals can excuse.”

Int’l Union of Operating Eng’rs, Loc. 18 v. NLRB, 837 F.3d 593, 596 (6th Cir.

2016); see also Zeigler Coal Co. v. Off. of Workers’ Comp. Programs, 490 F.3d

609, 610 n.1 (7th Cir. 2007) (excusing untimeliness under Rule 15(d) for good

cause shown and allowing intervention); City of Naples Airport Auth. v. FAA,

No. 03-1308, 2004 WL 1080160, at *1 (D.C. Cir. May 13, 2004) (denying

intervention but recognizing that the failure to timely file under Rule 15(d) can be

excused for good cause).

      The Court not only can but should extend Rule 15(d)’s non-jurisdictional

time limit here. The petitions for review that have been consolidated in this case

were filed between October 22 and 24, 2024, meaning that Rule 15(d), if it

controlled, would have required Main Street Alliance to seek intervention by

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November 25. At that time, however, the Commission majority that voted in favor

of the challenged regulation was still in office and the FTC had yet to give any sign

it might fail to adequately represent MSA’s interests in this case. Indeed, the FTC’s

actions prior to January 20—including opposing Petitioners’ motion for a stay—

were consistent with a continued defense of the rule. Main Street Alliance therefore

had no cause to seek intervention before the Rule 15(d) deadline, and it should not

be penalized for declining to seek intervention until the need to do so became

compelling. (Nor should the Court lightly adopt a rule that would require parties to

file protective motions to intervene within 30 days of any petition for review that

might potentially warrant intervention in the future.)

 C. Intervention will not prejudice any party or delay resolution of this case.

      Allowing Main Street Alliance to intervene in defense of the rule will in no

way prejudice any existing party or slow the resolution this case. This litigation

remains at an early stage, and merits briefing has not yet begun. Main Street

Alliance stands ready to file its brief by the deadline set for respondent’s brief

(March 14), and its participation will occasion no delay to the existing briefing

schedule. Because Main Street Alliance seeks to intervene in defense of the rule,

this is also not a case in which its participation will multiply the issues requiring

the Court’s resolution; Main Street Alliance merely seeks to defend its members’

compelling interest in answering Petitioners’ challenges to the rule. Doing so will

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aid the Court’s resolution of this litigation by ensuring full and vigorous party

presentation of the relevant issues and providing important context concerning the

interests of Main Street Alliance’s thousands of small business members.

                                  CONCLUSION

      For all these reasons, the Court should grant Main Street Alliance leave to

intervene.


Dated: February 5, 2025                        Respectfully submitted,

                                               /s/ Kevin E. Friedl
                                               Kevin E. Friedl
                                               Robin Thurston
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                                               Counsel for Main Street Alliance




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                        CERTIFICATE OF SERVICE

      On February 5, 2025, a true and accurate copy of this document was filed

electronically via CM/ECF and served on all counsel of record.


                                           /s/ Kevin E. Friedl
                                           Kevin E. Friedl




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                     CERTIFICATE OF COMPLIANCE

      This motion complies with the length limit in Federal Rule of Appellate

Procedure 27(d)(2). It contains 3,919 words, excluding the portions exempted by

Rule 32(f).


                                           /s/ Kevin E. Friedl
                                           Kevin E. Friedl




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               ATTACHMENT
                   Declaration of Shawn Phetteplace,
           National Campaigns Director, Main Street Alliance




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                 IN THE UNITED STATES COURT OF APPEALS
                         FOR THE EIGHTH CIRCUIT




                   DECLARATION OF SHAWN PHETTEPLACE


I, Shawn Phetteplace, declare as follows:

        1.     I am the national campaigns director of the Main Street Alliance (MSA).

I have held that position since 2023 and been on staff with MSA since 2020.

        2.     This declaration is based on my firsthand knowledge of the facts as stated

here.

        3.     MSA is a national network of small businesses, which represents

approximately 30,000 small businesses across the United States.

        4.     MSA helps small business owners realize their full potential as leaders for

a just future that prioritizes good jobs, equity, and community through organizing,

research, and policy advocacy on behalf of small businesses. MSA also seeks to amplify

the voices of its small business membership by sharing their experiences with the aim of

creating an economy where all small business owners have an equal opportunity to

succeed.




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     5.        In my role as national campaigns director, and in my prior role as Midwest

Regional Manager, I work closely with MSAs small business members. Members

contact me nearly every day to share their concerns and describe the challenges faced by

their small businesses. A large part of my day-to-day responsibilities involves helping to

identify those challenges and working to find solutions for our members so that their

businesses, and the communities they serve, can grown and thrive.

     6.        Members have described to me problems with the sorts of arrangements

that the Federal Trade Commissions Click-to-Cancel Rule calls negative option

featuresthings like automatically renewing purchases and subscription services that

can be easy to sign up for but impossible to cancel.

     7.        Many of our members buy goods and services for their small businesses

and for themselves personally using negative-option deals. One example of this would be

a small business that has a standing order for regular deliveries of goods from a supplier

that will automatically continue until the small business takes affirmative steps to cancel.

     8.        When these deals are offered on fair and transparent terms, they can

benefit our members by ensuring a steady and predictable supply of the goods and

services our members need to operate their small businesses.

     9.        But when sellers hide the true terms of these deals with misleading

marketing, or enroll our members in subscriptions they never asked for, or refuse to

honor cancellation or refund requests, it can cause all of the harms that the FTC identified

in its rule. Those include the cost of paying for goods the small business never wanted in

the first place plus the aggravation, time, and expense of trying to cancel and get your

money back.




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      10.         Our members dont just use negative option arrangements to make

purchases, they also use them to sell their own products. Our members lose sales and

experience direct harm to their bottom lines when customers turn down fair and

transparent negative options like automatic recurring deliveries just because theyve had

bad experiences in the past with sellers using the kind of unscrupulous tactics the FTCs

rule prohibits.

      11.         Our members are also hurt by large corporations being able to abuse

negative options as a way to rig consumer choice in their favor, keeping their market

dominance by misleading customers into deals they dont want, rather than trying to

compete on price and quality.

      12.         These kinds of concerns are what led MSA to file a joint comment in June

2023 with several other groups in support of the Federal Trade Commissions proposed

amendments to the Negative Option Rule.

      13.         Our members have a significant interest in this case. Because they use

negative options both to buy what they need for their small businesses and to sell their

own goodsand want to be able to keep doing so without the biggest competitors

abusing these kinds of dealsour members would be hurt coming and going if the rule is

struck down.




Executed on February 5, 2025

                                                       ______________________________
                                                                      Shawn Phetteplace
                                                                    Main Street Alliance




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